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UNITED STATES DISTRICT COURT
DISTRICT OF SOUTH DAKOTA
SOUTHERN DIVISION

 

UNITED STATES OF AMERICA, CRl6-40032-O3
Plaintiff, FACTUAL BASIS STATEMENT
vs.
CHAD MICHAEL GOTCH,

Defendant.

 

The Defendant states that the following facts are true, and the parties
agree that they establish the factual basis required by Fed. R. Crim. P. 1 1(b)(3)
for the offense to which the Defendant is pleading guilty:

My name is Chad Michael Gotch.

Beginning at a time unknown to me, but prior to my involvement, and
continuing until March 9, 2016, two or more persons formed an agreement to
illegally distribute 500 grams or more of a mixture and substance containing
methamphetamine, a Schedule II controlled substance, in South Dakota and
elsewhere.

In the fall of 2014, I voluntarily and intentionally joined the agreement or
understanding to distribute methamphetamine when another co-conspirator
and I agreed to purchase methamphetamine from one of the members of the

existing conspiracy.

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At the time I joined the agreement or understanding to distribute
methamphetamine, I knew the purpose of the agreement or understanding

During my involvement, I bought methamphetamine from a co-
conspirator and distributed it to customers in South Dakota and elsewhere. I
knew that the customers were reselling the methamphetamine to their own
customers. While I was actively involved in furthering the purpose of the
agreement or understanding I personally distributed over 500 grams of
methamphetamine

Beginning at a time uncertain and continuing until March 9, 2016, two
or more persons formed an agreement to illegally launder money received from
the distribution of controlled substances in South Dakota and elsewhere.

I voluntarily and intentionally joined the agreement or understanding in
the summer of 2015. At the time I joined the agreement or understanding to
launder money, I knew the purpose of the agreement or understanding

As part of the overall scheme, my co-conspirators and I utilized various
methods to launder the illegal narcotic proceeds:

1. Two of my co-conspirators wanted to purchase a certain house in
Yankton, South Dakota, but wanted to disguise the illegal source of the
approximately $90,000 used to purchase it. They also wanted to conceal their
identities so that they did not appear to be the buyers of the house.

2. One of the co-conspirators involved in the house purchase

informed me and others of the plan and recruited us to help carry it out. I

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agreed to help by converting cash drug proceeds into a cashier’s check or
money order for use in purchasing the house. The same co-conspirator then
provided me with $7,000 in cash which I knew to be proceeds from illegal
narcotics sales. I then deposited the cash into a bank account and received a
money order or cashier’s check in the same amount. I gave the cashier’s check
or money order to a realtor to be deposited into an account in Yankton.

3. T he two co-conspirators involved in the house purchase then
recruited two more people, other than myself, who agreed to pretend to be the
actual buyers of the house in order to conceal the identity of the true buyers.

4. The same co-conspirator who had provided cash to me also
provided illegal narcotics cash proceeds to several other co-conspirators to also
have them convert the cash to cashier’s checks or money orders in order to
disguise the illegal nature of the funds. I knew that the purpose of my
involvement and the involvement of the others was to conceal the nature,
source, ownership and control of the illegal drug proceeds and to conceal the
true ownership of the house being purchased.

5. Eventually, a wire transfer was made transferring the disguised
illegal narcotics proceeds from the account of one of the persons pretending to
be a co-buyer of the house to the title company for the purchase of the house.
The purchase was completed during the summer of 2015.

6. Also, in 2015, pursuant to an agreement with a co-conspirator, I

purchased motor vehicles with money derived from drug sales and put the

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vehicles into inventory for a used car business owned by the co-conspirator
and myself in Yankton.

Converting the illegal drug cash proceeds into cashier’s checks or money
orders and the wire transfer between the co-buyer’s bank and the title
company both affected interstate commerce, as did the purchase and resale of
the various vehicles.

The parties submit that the foregoing statement of facts is not intended
to be a complete description of the offense or the Defendant’s involvement in it.
Instead, the statement is offered for the limited purpose of satisfying the
requirements of Fed. R. Crim. P. 11(b)(3). The parties understand that
additional information relevant to sentencing, including additional drug
quantities, may be developed and attributed to the Defendant for sentencing
purposes.

RANDOLPH J. SEILER
United States Attorney
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Defendant

 

Date

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. Kolbeck
Attorney for Defendant

Date

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